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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. 07-cv-02126-MSK-CBS

  FREEDOM FROM RELIGION FOUNDATION, INC.;
  JOHN DOE;
  DOECHILD, A MINOR CHILD;
  JOHN ROE;
  MARY ZOE; and
  ROECHILD-1 A MINOR CHILD; and
  ROECHILD-2, A MINOR CHILD,

         Plaintiffs,

  v.

  CHERRY CREEK SCHOOL DISTRICT; and
  MONTE C. MOSES, SUPERINTENDENT OF SCHOOLS OF THE CHERRY CREEK SCHOOL
  DISTRICT,

        Defendants.
  ______________________________________________________________________________

                             CERTIFICATE OF SERVICE
  _______________________________________________________________________________

         I hereby certify that on the 16th day of November, 2007, the “Notice of Availability of a
  United States Magistrate Judge to Exercise Jurisdiction” was transmitted by e-mail to Richard J.
  Banta, attorney for the Defendants herein, at rjbanta@bantahoyt.com .


                                                     Respectfully submitted,

                                                     s/ Robert R. Tiernan
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